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    EXHIBIT D
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US7449274B2 - Claim 1 as applied to Brother
                        Claim 1                                                        Brother TN436 Toner Cartridge
1. A toner for electrostatic image development,             The TN436 toner cartridge contains toner for electrostatic image development. The TN436
                                                            toner cartridge comprises toner particles in which at most 100 – 93.5 = 6.5 percent by
comprising toner particles in which not more than           number of the toner particles have a particle diameter of smaller than 4 μm. At least 93.5
13 percent by number of the toner particles have a          percent by number of the toner particles have a particle diameter of 4 μm or greater.
particle diameter of smaller than 4 μm,

not less than 20 percent by number of the toner particles
have a particle diameter of 4 μm to 6 μm,

not more than 2.0 percent by volume of the toner
particles have a particle diameter of 16 μm or greater,

wherein the toner particles have a volume average
diameter of 4 μm to 9 μm and

at least an external additive is added to the toner
particles.




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US7449274B2 - Claim 1 as applied to Brother
                        Claim 1                                                     Brother TN436 Toner Cartridge
1. A toner for electrostatic image development,           The TN436 toner cartridge comprises toner particles in which at least 93.5 – 31.6 = 61.9
                                                          percent by number of the toner particles have a particle diameter of 4 μm to 6 μm.
comprising toner particles in which not more than
13 percent by number of the toner particles have a
particle diameter of smaller than 4 μm,

not less than 20 percent by number of the toner
particles have a particle diameter of 4 μm to 6 μm,

not more than 2.0 percent by volume of the toner
particles have a particle diameter of 16 μm or greater,

wherein the toner particles have a volume average
diameter of 4 μm to 9 μm and

at least an external additive is added to the toner
particles.




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US7449274B2 - Claim 1 as applied to Brother
                        Claim 1                                                      Brother TN436 Toner Cartridge
1. A toner for electrostatic image development,             The TN436 toner cartridge comprises toner particles in which at most 0.64 percent by
                                                            volume of the toner particles have a particle diameter of 15 μm or greater.
comprising toner particles in which not more than
13 percent by number of the toner particles have a
particle diameter of smaller than 4 μm,

not less than 20 percent by number of the toner particles
have a particle diameter of 4 μm to 6 μm,

not more than 2.0 percent by volume of the toner
particles have a particle diameter of 16 μm or
greater,

wherein the toner particles have a volume average
diameter of 4 μm to 9 μm and

at least an external additive is added to the toner
particles.




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US7449274B2 - Claim 1 as applied to Brother
                         Claim 1                                                      Brother TN436 Toner Cartridge
 1. A toner for electrostatic image development,             The TN436 toner cartridge comprises toner particles having a volume mean (average)
                                                             diameter of 6.200 μm.
 comprising toner particles in which not more than
 13 percent by number of the toner particles have a
 particle diameter of smaller than 4 μm,

 not less than 20 percent by number of the toner particles
 have a particle diameter of 4 μm to 6 μm,

 not more than 2.0 percent by volume of the toner
 particles have a particle diameter of 16 μm or greater,

 wherein the toner particles have a volume average
 diameter of 4 μm to 9 μm and

 at least an external additive is added to the toner
 particles.




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US7449274B2 - Claim 1 as applied to Brother
                        Claim 1                                                         Brother TN436 Toner Cartridge
1. A toner for electrostatic image development,             The TN436 toner cartridge comprises toner in which an external additive comprising
                                                            amorphous silica is added to the toner particles. Silica is identified as an additive in the
comprising toner particles in which not more than           patent specification at col. 8, lines 18-24.
13 percent by number of the toner particles have a
particle diameter of smaller than 4 μm,

not less than 20 percent by number of the toner particles
have a particle diameter of 4 μm to 6 μm,

not more than 2.0 percent by volume of the toner
particles have a particle diameter of 16 μm or greater,

wherein the toner particles have a volume average
diameter of 4 μm to 9 μm and

at least an external additive is added to the toner
particles.

                                                            Source: http://sds.staples.com/msds/24479070.pdf




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